          Case 2:20-cv-00112-JCC Document 68 Filed 05/28/20 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
                                      UNITED STATES COURT HOUSE
                                       SEATTLE, WASHINGTON 98101
                                              (206) 370-8800
                                                                                              JOHN C. COUGHENOUR
                                                                                                United States District Judge




                                            May 26, 2020

       Dear counsel,

       As reflected in the General Orders recently issued by the Western District of Washington,

the coronavirus pandemic has substantially affected the Court’s ability to conduct in-person

proceedings. It is the considered view of most judges in the Western District of Washington that

criminal jury trials are not likely to resume prior to 2021 and that civil trials will resume later

than that. The Court cannot configure its courtroom for trial while complying with the social

distancing guidelines promulgated by local and national health officials, and the Court is not

confident that potential jurors will (or should) respond to subpoenas before they are convinced

that it is safe to do so. The Court also anticipates having to process its criminal docket in order to

comply with its Speedy Trial Act obligations before it may again hear civil trials.

       However, the Court believes that it is important to maintain existing case schedules to the

greatest extent possible under the current circumstances. Therefore, in granting future

continuances of trial dates, the Court will keep the current pretrial deadlines absent a showing of
good cause to extend such deadlines. This will ensure that trials are efficiently resolved once in-

court proceedings are safe for the parties, counsel, and jurors.

                                               Very truly yours,




                                               A
                                               John C. Coughenour
                                               United States District Judge
                                               Western District of Washington
